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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

KENNETH ROBERTSON, JR..
Plaintiff,

V. Civil No. 3:21cv321 (DJN)

RIVERSIDE REGIONAL JAIL,
Defendant.

MEMORANDUM OPINION

By Memorandum Order entered on June 25, 2021, the Court conditionally docketed
Plaintiff's action. (ECF No. 3.) At that time, the Court directed Plaintiff to affirm his intention
to pay the full filing fee by signing and returning a consent to collection of fees form. The Court
warned Plaintiff that a failure to comply with the above directive within thirty (30) days of the
date of entry thereof would result in summary dismissal of the action.

Plaintiff has not complied with the Court’s order to return a consent to collection of fees
form. As a result, he does not qualify for in forma pauperis status. Furthermore, he has not paid
the statutory filing fee for the instant action as required by 28 U.S.C. § 1914(a). Plaintiff's
conduct demonstrates a willful failure to prosecute. Accordingly, pursuant to Federal Rule of
Civil Procedure 41(b), this action will be DISMISSED WITHOUT PREJUDICE.

An appropriate Order shall issue.

Let the Clerk file a copy of this Memorandum Opinion electronically and send a copy to

Plaintiff.
/s/ j y
David J. Novak

United States District Judge

 

Richmond, Virginia
Dated: September 29, 2021
